                  24-22190-shl              Doc 1            Filed 03/08/24 Entered 03/08/24 14:40:03                                     Main Document
                                                                           Pg 1 of 73
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

              Southern District of New York

 Case number (If known):                           Chapter you are filing under:
                                                   ✔
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                              ❑ Check if this is an
                                                           Chapter 12
                                                   ❑       Chapter 13
                                                                                                                                                 amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                              12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Baruch                                                          Malka
       Write the name that is on your         First name                                                      First name
       government-issued picture
       identification (for example, your
                                              Middle name                                                     Middle name
       driver’s license or passport).
                                               Spitzer                                                         Spitzer
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.

                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have
       used in the last 8 years               First name                                                      First name

       Include your married or maiden
       names and any assumed, trade           Middle name                                                     Middle name
       names and doing business as
       names.
                                              Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC       Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 5           3    4   3                               xxx - xx - 5           0    2     9
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 1
                 24-22190-shl            Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                                     Main Document
                                                                     Pg 2 of 73
 Debtor 1            Baruch                                          Spitzer
 Debtor 2            Malka                                           Spitzer
                                                                                                                    Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                          18 Garden Terrace
                                          Number            Street                                        Number           Street




                                          Spring Valley, NY 10977
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                          Rockland
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ✔ Over the last 180 days before filing this petition, I
                                                                                                          ❑
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
                24-22190-shl           Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                             Main Document
                                                                   Pg 3 of 73
 Debtor 1           Baruch                                     Spitzer
 Debtor 2           Malka                                      Spitzer
                                                                                                              Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ✔
                                       ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ❑     Chapter 13



  8.   How you will pay the fee        ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                       ❑
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.

                                       ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ✔ No.
                                       ❑
                                       ❑ Yes. District
       within the last 8 years?
                                                                                                When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY

                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY




  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an               District                                      When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                Debtor                                                                  Relationship to you

                                                District                                      When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                 ❑ No. Go to line 12.
                                                 ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
                24-22190-shl               Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                              Main Document
                                                                       Pg 4 of 73
 Debtor 1           Baruch                                         Spitzer
 Debtor 2           Malka                                          Spitzer
                                                                                                                  Case number (if known)
                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                               City                                                State            ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
      11 of the Bankruptcy Code,           proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business
      and are you a small business         debtor or you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement
      debtor or a debtor as defined        of operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the
      by 11 U.S. C. § 1182(1)?             procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy
                                                         Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                24-22190-shl            Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                          Main Document
                                                                    Pg 5 of 73
 Debtor 1           Baruch                                      Spitzer
 Debtor 2           Malka                                       Spitzer
                                                                                                             Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
                24-22190-shl            Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                             Main Document
                                                                    Pg 6 of 73
 Debtor 1           Baruch                                      Spitzer
 Debtor 2           Malka                                       Spitzer
                                                                                                               Case number (if known)
                    First Name          Middle Name             Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                            You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                              ✔ I received a briefing from an approved credit
                                                                                                       ❑
      bankruptcy. You must truthfully       counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      check one of the following            filed this bankruptcy petition, and I received a               filed this bankruptcy petition, and I received a
      choices. If you cannot do so,         certificate of completion.                                     certificate of completion.
      you are not eligible to file.
                                            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment
      If you file anyway, the court         plan, if any, that you developed with the agency.              plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                ❑ I received a briefing from an approved credit
      paid, and your creditors can          counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      begin collection activities           filed this bankruptcy petition, but I do not have a            filed this bankruptcy petition, but I do not have a
      again.                                certificate of completion.                                     certificate of completion.
                                            Within 14 days after you file this bankruptcy petition,        Within 14 days after you file this bankruptcy petition,
                                            you MUST file a copy of the certificate and payment            you MUST file a copy of the certificate and payment
                                            plan, if any.                                                  plan, if any.
                                        ❑ I certify that I asked for credit counseling services        ❑ I certify that I asked for credit counseling services
                                            from an approved agency, but was unable to                     from an approved agency, but was unable to
                                            obtain those services during the 7 days after I                obtain those services during the 7 days after I
                                            made my request, and exigent circumstances                     made my request, and exigent circumstances
                                            merit a 30-day temporary waiver of the                         merit a 30-day temporary waiver of the
                                            requirement.                                                   requirement.
                                            To ask for a 30-day temporary waiver of the                    To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why you          what efforts you made to obtain the briefing, why you
                                            were unable to obtain it before you filed for                  were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                     bankruptcy, and what exigent circumstances
                                            required you to file this case.                                required you to file this case.

                                             Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                             If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                             along with a copy of the payment plan you                      along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                             be dismissed.                                                  be dismissed.

                                             Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                             for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit         ❑ I am not required to receive a briefing about credit
                                            counseling because of:                                         counseling because of:
                                            ❑ Incapacity. I have a mental illness or a mental              ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                      deficiency that makes me
                                                               incapable of realizing or making                              incapable of realizing or making
                                                               rational decisions about finances.                            rational decisions about finances.
                                            ❑ Disability.      My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                               to be unable to participate in a                              to be unable to participate in a
                                                               briefing in person, by phone, or                              briefing in person, by phone, or
                                                               through the internet, even after I                            through the internet, even after I
                                                               reasonably tried to do so.                                    reasonably tried to do so.
                                            ❑ Active duty. I am currently on active military               ❑ Active duty. I am currently on active military
                                                               duty in a military combat zone.                               duty in a military combat zone.

                                             If you believe you are not required to receive a               If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.

Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
                 24-22190-shl            Doc 1          Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                                      Pg 7 of 73
 Debtor 1           Baruch                                         Spitzer
 Debtor 2           Malka                                          Spitzer
                                                                                                                    Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                       “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ✔ No. Go to line 16b.
                                                   ❑
                                                   ❑ Yes. Go to line 17.
                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                  for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                             16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?        ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any
                                             ✔
                                             ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ✔ No
                                                           ❑
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you               ✔ 1-49
                                              ❑                 ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                  ❑ 50-99           ❑ 5,001-10,000
                                              ❑ 100-199         ❑ 10,001-25,000
                                              ❑ 200-999

  19. How much do you estimate your           ❑ $0-$50,000                         ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                     ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ✔ $500,001-$1 million
                                              ❑                                    ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your           ❑ $0-$50,000                         ✔ $1,000,001-$10 million
                                                                                   ❑                                          ❑ $500,000,001-$1 billion
      liabilities to be?                      ❑ $50,001-$100,000                   ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                              ❑ $100,001-$500,000                  ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                              ❑ $500,001-$1 million                ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Baruch Spitzer                                            ✘ /s/ Malka Spitzer
                                       Baruch Spitzer, Debtor 1                                        Malka Spitzer, Debtor 2
                                       Executed on 03/08/2024                                          Executed on 03/08/2024
                                                        MM/ DD/ YYYY                                                   MM/ DD/ YYYY




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
                24-22190-shl            Doc 1             Filed 03/08/24 Entered 03/08/24 14:40:03                              Main Document
                                                                        Pg 8 of 73
 Debtor 1           Baruch                                          Spitzer
 Debtor 2           Malka                                           Spitzer
                                                                                                                   Case number (if known)
                    First Name              Middle Name             Last Name



   For your attorney, if you are              I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                         proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                              each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an           11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this     that the information in the schedules filed with the petition is incorrect.
   page.

                                              ✘ /s/ Charles Wertman                                                  Date 03/08/2024
                                                   Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                  Charles Wertman
                                                  Printed name

                                                  Law Offices of Charles Wertman P.C.
                                                  Firm name

                                                  100 Merrick Road Suite 304W
                                                  Number       Street




                                                  Rockville Centre                                                 NY      11570-4807
                                                  City                                                             State   ZIP Code



                                                  Contact phone (516) 359-1334                       Email address charles@cwertmanlaw.com


                                                  2593267                                                          NY
                                                  Bar number                                                       State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 8
               24-22190-shl                   Doc 1            Filed 03/08/24 Entered 03/08/24 14:40:03                                                      Main Document
                                                                             Pg 9 of 73
 Fill in this information to identify your case and this filing:

  Debtor 1                 Baruch                                                    Spitzer
                           First Name                  Middle Name                  Last Name

  Debtor 2                 Malka                                                     Spitzer
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                         Southern                   District of         New York

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      18 Garden Terrace                                ❑ Single-family home                                                  the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ✔ Condominium or cooperative
                                                                  ❑                                                                    Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                Spring Valley, NY 10977                           ❑ Investment property                                                              $900,000.00                $900,000.00

                City          State     ZIP Code
                                                                  ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                Rockland                                                                                                               a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                County
                                                                  ✔ Debtor 1 only
                                                                  ❑                                                                     Fee Simple

                                                                  ❑ Debtor 2 only                                                      ❑ Check if this is community property
                                                                  ❑ Debtor 1 and Debtor 2 only                                              (see instructions)
                                                                  ❑ At least one of the debtors and another
                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: 5 bedrooms



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                                                $900,000.00
        you have attached for Part 1. Write that number here ...................................................................................................


  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑




Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
             24-22190-shl                    Doc 1            Filed 03/08/24 Entered 03/08/24 14:40:03                                                      Main Document
                                                                           Pg 10 of 73
Debtor Baruch Spitzer; Malka Spitzer                                                                                        Case number (if known)



       3.1     Make:                           Toyota            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
                                            Sienna 2WD
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.

                                               2021              ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
                                               2500
               Approximate mileage:
                                                                 ❑ Check if this is community property (see                                             unknown                   unknown
                                                                      instructions)
               Other information:




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                                                      $0.00
       you have attached for Part 2. Write that number here ...................................................................................................


  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    home furnishings and appliances, and asst household items                                                                              $4,000.00


 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    (2) Iphone, laptop                                                                                                                     $1,500.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
              24-22190-shl                       Doc 1             Filed 03/08/24 Entered 03/08/24 14:40:03                                                               Main Document
                                                                                Pg 11 of 73
Debtor Baruch Spitzer; Malka Spitzer                                                                                                   Case number (if known)



 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                                  $3,000.00


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                       wedding ring, engagement ring, and other costume jewelry                                                                                   $4,000.00


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............




                                                                                                                                                                              ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                                     $12,500.00
       for Part 3. Write that number here .................................................................................................................................


  Part 4:            Describe Your Financial Assets

 Do you own or have any legal or equitable                             Current value of the portion you own?
 interest in any of the following?                                     Do not deduct secured claims or exemptions.



Official Form 106A/B                                                                      Schedule A/B: Property                                                                            page 3
              24-22190-shl                          Doc 1                Filed 03/08/24 Entered 03/08/24 14:40:03                                                                     Main Document
                                                                                      Pg 12 of 73
Debtor Baruch Spitzer; Malka Spitzer                                                                                                              Case number (if known)



 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ❑ No
       ✔ Yes ...................................................................................................................................................
       ❑                                                                                                                                                              Cash: ...................
                                                                                                                                                                                                       $500.00


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                             17.1. Checking account:                           JP Morgan Chase Bank, N.A.
                                                                                                                                                                                                      $1,383.00
                                                                                               Account Number: 3233


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ❑ No
       ✔ Yes. Give specific
       ❑
            information about
            them....................        Name of entity:                                                                                                        % of ownership:

                                              AZG Sales Inc.                                                                                                                       100.00%            unknown


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Issuer name:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                page 4
             24-22190-shl                    Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                           Main Document
                                                                       Pg 13 of 73
Debtor Baruch Spitzer; Malka Spitzer                                                                Case number (if known)



 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:

                                      Pension plan:

                                      IRA:

                                      Retirement account:

                                      Keogh:

                                      Additional account:

                                      Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                         Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




Official Form 106A/B                                                       Schedule A/B: Property                                            page 5
             24-22190-shl                 Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                                    Main Document
                                                                     Pg 14 of 73
Debtor Baruch Spitzer; Malka Spitzer                                                                      Case number (if known)



 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ❑ No
       ✔ Yes .....................
       ❑                             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                      J.P. Morgan | IRA                                                                                                $10,961.00

                                      JP Morgan | IRA                                                                                                   $5,963.57


 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you                                                                        Federal:
                 already filed the returns and
                 the tax years. ...................                                                                 State:

                                                                                                                    Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                                    Alimony:

                                                                                                                    Maintenance:

                                                                                                                    Support:

                                                                                                                    Divorce settlement:

                                                                                                                    Property settlement:




Official Form 106A/B                                                     Schedule A/B: Property                                                            page 6
              24-22190-shl                       Doc 1             Filed 03/08/24 Entered 03/08/24 14:40:03                                                               Main Document
                                                                                Pg 15 of 73
Debtor Baruch Spitzer; Malka Spitzer                                                                                                   Case number (if known)



 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                   of each policy and list its value. ...            Company name:                                             Beneficiary:                                       Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........



                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                $18,807.57
       for Part 4. Write that number here .................................................................................................................................


  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                      page 7
            24-22190-shl              Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                             Main Document
                                                                Pg 16 of 73
Debtor Baruch Spitzer; Malka Spitzer                                                           Case number (if known)



                                                                                                                                   Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                 Name of entity:                                                         % of ownership:




 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ❑ No
                ❑ Yes. Describe. .........




Official Form 106A/B                                             Schedule A/B: Property                                                            page 8
              24-22190-shl                       Doc 1             Filed 03/08/24 Entered 03/08/24 14:40:03                                                               Main Document
                                                                                Pg 17 of 73
Debtor Baruch Spitzer; Malka Spitzer                                                                                                   Case number (if known)



 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
                                                                                                                                                                                                  $0.00
       for Part 5. Write that number here .................................................................................................................................


  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                  Current value of the
                                                                                                                                                                                  portion you own?
                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                  claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............


Official Form 106A/B                                                                      Schedule A/B: Property                                                                                  page 9
              24-22190-shl                        Doc 1              Filed 03/08/24 Entered 03/08/24 14:40:03                                                                  Main Document
                                                                                  Pg 18 of 73
Debtor Baruch Spitzer; Malka Spitzer                                                                                                       Case number (if known)




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                  $0.00
       for Part 6. Write that number here .................................................................................................................................


  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                 $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔       $900,000.00


 56.   Part 2: Total vehicles, line 5                                                                                        $0.00

 57.   Part 3: Total personal and household items, line 15                                                           $12,500.00

 58.   Part 4: Total financial assets, line 36                                                                       $18,807.57

 59.   Part 5: Total business-related property, line 45                                                                      $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                             $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                         $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                             $31,307.57            Copy personal property total             ➔   +    $31,307.57



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                               $931,307.57




Official Form 106A/B                                                                         Schedule A/B: Property                                                                              page 10
                    24-22190-shl            Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                              Main Document
                                                                      Pg 19 of 73
 Fill in this information to identify your case:

  Debtor 1                    Baruch                                   Spitzer
                              First Name           Middle Name         Last Name

  Debtor 2                    Malka                                    Spitzer
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                        Southern District of New York

  Case number                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                  04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar
amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit.
Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount.
However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on             Current value of the       Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                     portion you own
                                                           Copy the value from        Check only one box for each exemption.
                                                           Schedule A/B
 Brief description:
                                                                                      ✔
                                                                                      ❑           $198,238.00                  N.Y. CPLR § 5206(a)
 18 Garden Terrace Spring Valley, NY 10977                             $900,000.00
                                                                                      ❑ 100% of fair market value, up
 Line from                                                                                to any applicable statutory limit
 Schedule A/B:          1.1


                                                                                      ❑
 Brief description:
                                                                                                                               N.Y. CPLR § 5205(a)(5)
 home furnishings and appliances, and asst                                $4,000.00
 household items                                                                      ✔ 100% of fair market value, up
                                                                                      ❑
                                                                                          to any applicable statutory limit
 Line from
 Schedule A/B:          6


 3.   Are you claiming a homestead exemption of more than $189,050?
      (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
      ❑ No
      ✔ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
      ❑
        ❑✔ No
        ❑ Yes




Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                  page 1 of 2
                 24-22190-shl          Doc 1          Filed 03/08/24 Entered 03/08/24 14:40:03                          Main Document
                                                                   Pg 20 of 73
 Debtor 1             Baruch                                   Spitzer
 Debtor 2             Malka                                    Spitzer
                                                                                                            Case number (if known)
                      First Name        Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on         Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                 portion you own
                                                       Copy the value from     Check only one box for each exemption.
                                                       Schedule A/B
 Brief description:
                                                                               ✔
                                                                               ❑            $1,500.00                   N.Y. CPLR § 5205(a)(1)
 (2) Iphone, laptop                                                $1,500.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         7

 Brief description:
                                                                               ✔
                                                                               ❑            $2,500.00                   N.Y. CPLR § 5205(a)(5)
 Clothes                                                           $3,000.00
                                                                               ❑ 100% of fair market value, up
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                               ✔
                                                                               ❑           $10,961.00                   N.Y. CPLR § 5205(c); N.Y. Debtor &
 J.P. Morgan                                                      $10,961.00
                                                                               ❑ 100% of fair market value, up          Creditor Law § 282(2)(e)
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        24

 Brief description:
                                                                               ✔
                                                                               ❑            $5,963.57                   N.Y. CPLR § 5205(c); N.Y. Debtor &
 JP Morgan                                                         $5,963.57
                                                                               ❑ 100% of fair market value, up          Creditor Law § 282(2)(e)
 Line from                                                                        to any applicable statutory limit
 Schedule A/B:        24




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                              page 2 of 2
                24-22190-shl             Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                                     Main Document
                                                                    Pg 21 of 73
 Fill in this information to identify your case:

     Debtor 1           Baruch                                        Spitzer
                        First Name             Middle Name           Last Name

     Debtor 2           Malka                                         Spitzer
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:              Southern              District of     New York

     Case number (if
     known)                                                                                                                                 ❑ Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor           Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other         Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the    Do not deduct the
                                                                                                                                    that supports this    portion
         creditor’s name.                                                                                    value of collateral.
                                                                                                                                    claim                 If any

     2.1 Huntington                                    Describe the property that secures the claim:                  $89,185.00           $900,000.00             $0.00
         Creditor’s Name
                                                       18 Garden Terrace Spring Valley, NY 10977
         P.O. Box 1558
         Number      Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       ❑ Contingent
         Columbus, OH 43216                            ❑ Unliquidated
         City          State            ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ❑ An agreement you made (such as mortgage or secured car loan)
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ✔ Other (including a right to
                                                       ❑                                    Mortgage
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred                        Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                       $89,185.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 4
             24-22190-shl           Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                     Main Document
                                                              Pg 22 of 73
Debtor 1        Baruch                                        Spitzer                          Case number (if known)
Debtor 2        Malka                                          Spitzer
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.2 JP Morgan Chase Bank N.A.                  Describe the property that secures the claim:                  $606,514.00          $900,000.00               $0.00
      Creditor’s Name
                                                 18 Garden Terrace Spring Valley, NY 10977
      PO Box 78420
      Number    Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
      Phoenix, AZ 85062-8420                     ❑ Unliquidated
      City           State         ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    Mortgage
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number         8    9    0    9

  2.3 SellersFunding Intl                        Describe the property that secures the claim:                   $90,411.00                 $0.00       $90,411.00
      Creditor’s Name
       Attn Double Deer LLC
      129 Weston Road Ste 306                    As of the date you file, the claim is: Check all that apply.
      Number     Street                          ❑ Contingent
      Fort Lauderdale, FL 33326                  ✔ Unliquidated
                                                 ❑
      City           State         ZIP Code      ✔ Disputed
                                                 ❑
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    UCC -- Interest in A/R of AZG Sales Inc
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                  $696,925.00

      If this is the last page of your form, add the dollar value totals from all pages.
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 4
             24-22190-shl           Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                     Main Document
                                                              Pg 23 of 73
Debtor 1        Baruch                                        Spitzer                          Case number (if known)
Debtor 2        Malka                                          Spitzer
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.4 US Bank NA                                 Describe the property that secures the claim:                    unknown                   $0.00              $0.00
      Creditor’s Name
                                                 2021 Toyota Sienna 2WD
      PO Box 790117
      Number    Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
      Saint Louis, MO 63179-0117                 ❑ Unliquidated
      City           State       ZIP Code        ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    AUTO LEASE
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number

  2.5 Viola Estate Condo Management              Describe the property that secures the claim:                   $6,063.00           $900,000.00               $0.00
      Creditor’s Name
                                                 18 Garden Terrace Spring Valley, NY 10977
      PO Box 983
      Number     Street
                                                 As of the date you file, the claim is: Check all that apply.
                                                 ❑ Contingent
      Monsey, NY 10952                           ❑ Unliquidated
      City          State          ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ❑ Debtor 1 only                            ❑ An agreement you made (such as mortgage or secured car loan)
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ✔ Debtor 1 and Debtor 2 only
      ❑                                          ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    Condo Homeowners Maintenance
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                     $6,063.00

      If this is the last page of your form, add the dollar value totals from all pages.                      $792,173.00
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 4
             24-22190-shl           Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                              Main Document
                                                               Pg 24 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name            Middle Name            Last Name

   Part 2:     List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly,
 if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional
 persons to be notified for any debts in Part 1, do not fill out or submit this page.
   1. Berkovitch & Bouiskila LLC
                                                                                  On which line in Part 1 did you enter the creditor? 2.3
      Name
                                                                                  Last 4 digits of account number
       Steven Berkovitch, Esq.
      1545 U.S. 202 Ste 101
      Number           Street
      Pomona, NY 10970
      City                                State              ZIP Code




Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 4
                24-22190-shl             Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                                       Main Document
                                                                    Pg 25 of 73
 Fill in this information to identify your case:

  Debtor 1           Baruch                                            Spitzer
                     First Name              Middle Name              Last Name

  Debtor 2            Malka                                            Spitzer
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                 Southern               District of     New York

  Case number
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1                                                    Last 4 digits of account number
         Priority Creditor’s Name
                                                         When was the debt incurred?

         Number        Street
                                                         As of the date you file, the claim is: Check all that apply.
                                                         ❑ Contingent
         City              State           ZIP Code      ❑ Unliquidated
         Who incurred the debt? Check one.
                                                         ❑ Disputed
         ❑ Debtor 1 only                                 Type of PRIORITY unsecured claim:
         ❑ Debtor 2 only                                 ❑ Domestic support obligations
         ❑ Debtor 1 and Debtor 2 only                    ❑ Taxes and certain other debts you owe the government
         ❑ At least one of the debtors and another       ❑ Claims for death or personal injury while you were intoxicated
         ❑ Check if this claim is for a                  ❑ Other. Specify
            community debt

         Is the claim subject to offset?
         ❑ No
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 15
                24-22190-shl              Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                      Main Document
                                                                    Pg 26 of 73
Debtor 1           Baruch                                          Spitzer                            Case number (if known)
Debtor 2          Malka                                             Spitzer
                  First Name               Middle Name             Last Name

      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 8fig                                                               Last 4 digits of account number                                                       $56,755.00
      Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
        1717 W 6th Street
        Number            Street
                                                                         As of the date you file, the claim is: Check all that apply.

        Austin, TX 78703
                                                                         ❑ Contingent
                                                                         ✔ Unliquidated
                                                                         ❑
        City                      State                    ZIP Code
                                                                         ✔ Disputed
                                                                         ❑
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:

        ❑ Debtor 2 only                                                  ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or divorce that you did not report as
        ✔ At least one of the debtors and another
        ❑                                                                    priority claims
                                                                         ❑ Debts to pension or profit-sharing plans, and other similar debts
        ❑ Check if this claim is for a community debt                    ✔ Other. Specify Merchants Cash Advance
                                                                         ❑
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes
  4.2 Amazon Capital                                                     Last 4 digits of account number                                                      $682,319.00
      Nonpriority Creditor’s Name
                                                                         When was the debt incurred?
        410 Terry Ave. N
        Number           Street
                                                                         As of the date you file, the claim is: Check all that apply.

        Seattle, WA 98109
                                                                         ❑ Contingent
                                                                         ✔ Unliquidated
                                                                         ❑
        City                      State                    ZIP Code
                                                                         ✔ Disputed
                                                                         ❑
        Who incurred the debt? Check one.
        ❑ Debtor 1 only                                                  Type of NONPRIORITY unsecured claim:

        ❑ Debtor 2 only                                                  ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                     ❑ Obligations arising out of a separation agreement or divorce that you did not report as
        ✔ At least one of the debtors and another
        ❑                                                                    priority claims
                                                                         ❑ Debts to pension or profit-sharing plans, and other similar debts
        ❑ Check if this claim is for a community debt                    ✔ Other. Specify
                                                                         ❑
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2 of 15
             24-22190-shl           Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                              Pg 27 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.3 Barclay                                                    Last 4 digits of account number                                                  $1,050.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      P.O. Box 15123
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Wilmington, DE 19850
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                 State                      ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 Barclay                                                    Last 4 digits of account number                                                  $4,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      P.O. Box 15123
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Wilmington, DE 19850
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                 State                      ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 3 of 15
             24-22190-shl           Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                              Pg 28 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.5 Capital One                                                Last 4 digits of account number                                                 $111,135.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 4069
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Carol Stream, IL 60197-4069
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                  State                     ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 Capital One                                                Last 4 digits of account number                                                  $5,550.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 4069
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Carol Stream, IL 60197-4069
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                  State                     ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 4 of 15
             24-22190-shl           Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                              Pg 29 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.7 Capital One                                                Last 4 digits of account number                                                  $6,850.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 4069
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Carol Stream, IL 60197-4069
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                  State                     ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.8 Capital One                                                Last 4 digits of account number                                                  $5,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 4069
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Carol Stream, IL 60197-4069
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                  State                     ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 5 of 15
             24-22190-shl           Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                              Pg 30 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.9 Capital One                                                Last 4 digits of account number                                                 $12,500.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 4069
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Carol Stream, IL 60197-4069
                                                                 ❑ Contingent
      City                  State                     ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.10 Capital One                                                Last 4 digits of account number                                                  $5,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 4069
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Carol Stream, IL 60197-4069
                                                                 ❑ Contingent
      City                  State                     ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 15
             24-22190-shl            Doc 1       Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                              Pg 31 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.11 Chase                                                      Last 4 digits of account number                                                 $101,136.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 44959
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Indianapolis, IN 46244-0959
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                               priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Line of Credit
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.12 Chase                                                       Last 4 digits of account number                                                   $6,257.00
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 44959
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Indianapolis, IN 46244-0959
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                               priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Line of Credit
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 7 of 15
             24-22190-shl           Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                              Pg 32 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.13 Chase                                                      Last 4 digits of account number                                                  $2,545.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 15123
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Wilmington, DE 19850
                                                                 ❑ Contingent
      City                 State                      ZIP Code
                                                                 ❑ Unliquidated
                                                                 ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                               priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.14 Chase                                                      Last 4 digits of account number                                                    $482.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 15123
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Wilmington, DE 19850
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                 State                      ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                               priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 8 of 15
             24-22190-shl           Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                              Pg 33 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.15 Chase                                                      Last 4 digits of account number                                                 $55,187.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 15123
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Wilmington, DE 19850
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                 State                      ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                               priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.16 Chase                                                      Last 4 digits of account number                                                  $8,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 15123
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Wilmington, DE 19850
                                                                 ❑ Contingent
      City                 State                      ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 9 of 15
             24-22190-shl            Doc 1       Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                              Pg 34 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.17 Chase                                                      Last 4 digits of account number                                                 $43,960.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 15123
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Wilmington, DE 19850
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                 State                      ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.18 Citi                                                       Last 4 digits of account number                                                 $35,511.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 70166
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Philadelphia, PA 19176
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                   State                    ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 10 of 15
             24-22190-shl            Doc 1       Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                              Pg 35 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.19 Citizen Bank                                                Last 4 digits of account number                                                 $150,000.00
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      1 Citizens Plz Ste 500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ✔ Contingent
                                                                 ❑
      Providence, RI 02903-1330
      City                  State                     ZIP Code
                                                                 ❑ Unliquidated
                                                                 ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                               priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.20 Everrest                                                    Last 4 digits of account number                                                  $19,380.00
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      102 W. 38th Street 6th Floor
      Number            Street
                                                                 As of the date you file, the claim is: Check all that apply.

      New York, NY 10018
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                   State                    ZIP Code
                                                                 ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                               priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                          page 11 of 15
             24-22190-shl             Doc 1      Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                              Pg 36 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.21 Marcus by GS                                               Last 4 digits of account number                                                 $116,126.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 45400
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ✔ Contingent
                                                                 ❑
      UT
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                               priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.22 OnRamp                                                     Last 4 digits of account number                                                 $18,580.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      1705 S Capital of Texas Hwy #500
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.
                                                                 ✔ Contingent
                                                                 ❑
      Austin, TX 78746
                                                                 ✔ Unliquidated
                                                                 ❑
      City                    State                   ZIP Code
                                                                 ✔ Disputed
                                                                 ❑
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                               priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 12 of 15
             24-22190-shl           Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                   Main Document
                                                              Pg 37 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.23 Orange & Rockland                                           Last 4 digits of account number         0    0    0    8                          $4,047.00
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 1005
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Spring Valley, NY 10977
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                  State                     ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ✔ Debtor 1 and Debtor 2 only
      ❑                                                          ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify UTILITY
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.24 SBA                                                         Last 4 digits of account number                                                 $500,000.00
     Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
       US Small Bus. Admin.
      409 3rd Street
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
      Washington, DC 20416
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                 State                      ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ✔ At least one of the debtors and another
      ❑                                                               priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify
                                                                 ❑
      Is the claim subject to offset?
      ❑ No
      ✔ Yes
      ❑




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 13 of 15
             24-22190-shl           Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                 Main Document
                                                              Pg 38 of 73
Debtor 1        Baruch                                      Spitzer                         Case number (if known)
Debtor 2       Malka                                         Spitzer
               First Name               Middle Name         Last Name


   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.25 Wells Fargo                                                Last 4 digits of account number                                                  $7,500.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 51193
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Los Angeles, CA 90051
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                 State                      ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                                          Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.26 Wells Fargo                                                Last 4 digits of account number                                                  $5,603.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      PO Box 51193
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Los Angeles, CA 90051
                                                                 ❑ Contingent
                                                                 ✔ Unliquidated
                                                                 ❑
      City                 State                      ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ❑ Debtor 1 only                                            Type of NONPRIORITY unsecured claim:
      ✔ Debtor 2 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ At least one of the debtors and another                       priority claims
                                                                 ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Credit Card
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 14 of 15
                24-22190-shl          Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                                  Main Document
                                                                 Pg 39 of 73
Debtor 1          Baruch                                        Spitzer                      Case number (if known)
Debtor 2          Malka                                         Spitzer
                  First Name            Middle Name            Last Name

      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                             $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                             $0.00

                   6c.   Claims for death or personal injury while you were           6c.                             $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                         $0.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                                      $0.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                             $0.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                             $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                             $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +              $1,964,473.00
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                           $1,964,473.00




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                      page 15 of 15
                       24-22190-shl                 Doc 1      Filed 03/08/24 Entered 03/08/24 14:40:03                              Main Document
                                                                            Pg 40 of 73
 Fill in this information to identify your case:

     Debtor 1                       Baruch                                   Spitzer
                                    First Name           Middle Name         Last Name

     Debtor 2                       Malka                                    Spitzer
     (Spouse, if filing)            First Name           Middle Name         Last Name

     United States Bankruptcy Court for the:                           Southern District of New York

     Case number                                                                                                                            ❑ Check if this is an
     (if known)                                                                                                                                 amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ❑ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
        ❑
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                                 State what the contract or lease is for

2.1                                                                                                Automobile
        US Bank NA                                                                                 Contract to be ASSUMED
        Name
        PO Box 790117
        Number    Street
        Saint Louis, MO 63179-0117
        City                       State                 ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 1
               24-22190-shl              Doc 1             Filed 03/08/24 Entered 03/08/24 14:40:03                                  Main Document
                                                                        Pg 41 of 73
 Fill in this information to identify your case:

  Debtor 1           Baruch                                             Spitzer
                     First Name              Middle Name               Last Name

  Debtor 2           Malka                                              Spitzer
  (Spouse, if filing) First Name             Middle Name               Last Name

  United States Bankruptcy Court for the:                   Southern           District of       New York

  Case number
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ❑ No
        ✔ Yes
        ❑
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                         . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                           ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                            Check all schedules that apply:
 3.1    AZG Sales Inc
        Name                                                                                                ❑ Schedule D, line
        6 Melnick Dr.                                                                                       ✔ Schedule E/F, line
                                                                                                            ❑
        Number                          Street                                                               4.1, 4.2, 4.11, 4.12, 4.13, 4.14, 4.15, 4.19, 4.20, 4.21, 4.22,
                                                                                                                                           4.24
        Monsey, NY 10952
        City                                       State                                      ZIP Code      ❑ Schedule G, line
 3.2
        Name                                                                                                ❑ Schedule D, line
                                                                                                            ❑ Schedule E/F, line
        Number                          Street
                                                                                                            ❑ Schedule G, line
        City                                       State                                      ZIP Code




Official Form 106H                                                       Schedule H: Codebtors                                                                page 1 of 1
                    24-22190-shl            Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                     Main Document
                                                                      Pg 42 of 73
 Fill in this information to identify your case:

  Debtor 1                  Baruch                                     Spitzer
                           First Name              Middle Name         Last Name

  Debtor 2                  Malka                                      Spitzer
  (Spouse, if filing)      First Name              Middle Name         Last Name                                             Check if this is:

  United States Bankruptcy Court for the:                        Southern District of New York
                                                                                                                             ❑ An amended filing
                                                                                                                             ❑ A supplement showing postpetition
  Case number                                                                                                                   chapter 13 income as of the following date:
  (if known)

                                                                                                                                MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                 Debtor 1                                         Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status              ✔ Employed ❑ Not Employed
                                                                            ❑                                                 ✔ Employed ❑ Not Employed
                                                                                                                              ❑
     attach a separate page with
     information about additional            Occupation                     Owner                                             teacher
     employers.
                                             Employer's name                AZG Sales Inc                                     Yeshivah Avir Yakov
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address             6 Melnick Dr.                                     15 Rosevelt
     Occupation may include student                                          Number Street                                     Number Street
     or homemaker, if it applies.




                                                                            Monsey, NY 10952                                  Spring Valley, NY 10977
                                                                             City                     State   Zip Code         City                 State    Zip Code

                                             How long employed there?                                                          1 year


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1   For Debtor 2 or
                                                                                                                         non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.                 $0.00                   $420.80

 3. Estimate and list monthly overtime pay.                                                  3.   +             $0.00    +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.                 $0.00                   $420.80




Official Form 106I                                                           Schedule I: Your Income                                                              page 1
                     24-22190-shl                     Doc 1             Filed 03/08/24 Entered 03/08/24 14:40:03                                  Main Document
                                                                                     Pg 43 of 73
 Debtor 1                 Baruch                                                       Spitzer
 Debtor 2                 Malka                                                        Spitzer
                                                                                                                                     Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.                $0.00                 $420.80
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.               $0.00                    $0.00

       5b. Mandatory contributions for retirement plans                                                        5b.               $0.00                    $0.00

       5c. Voluntary contributions for retirement plans                                                        5c.               $0.00                    $0.00

       5d. Required repayments of retirement fund loans                                                        5d.               $0.00                    $0.00

       5e. Insurance                                                                                           5e.               $0.00                    $0.00

       5f. Domestic support obligations                                                                        5f.               $0.00                    $0.00

       5g. Union dues                                                                                          5g.               $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h.   +           $0.00        +           $0.00

 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.                $0.00                    $0.00

 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.                $0.00                 $420.80
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.          $13,500.00                    $0.00

       8b. Interest and dividends                                                                              8b.               $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.               $0.00                    $0.00

       8d. Unemployment compensation                                                                           8d.               $0.00                    $0.00

       8e. Social Security                                                                                     8e.               $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.               $0.00                    $0.00

       8g. Pension or retirement income                                                                        8g.               $0.00                    $0.00

       8h. Other monthly income. Specify:                                                                      8h.   +           $0.00        +           $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.           $13,500.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $13,500.00    +             $420.80         =         $13,920.80

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $13,920.80

                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:
Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
                 24-22190-shl          Doc 1          Filed 03/08/24 Entered 03/08/24 14:40:03             Main Document
                                                                   Pg 44 of 73
 Debtor 1              Baruch                                 Spitzer
 Debtor 2              Malka                                  Spitzer
                                                                                                Case number (if known)
                       First Name       Middle Name           Last Name


   8a. Attached Statement
                                                                  Business Income
   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
       1.   Gross Monthly Income:                                                                                           $13,500.00
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
       2.   Ordinary and necessary expense                                                                          $0.00
       3.   Net Employee Payroll (Other than debtor)                                                                $0.00
       4.   Payroll Taxes                                                                                           $0.00
       5.   Unemployment Taxes                                                                                      $0.00
       6.   Worker's Compensation                                                                                   $0.00
       7.   Other Taxes                                                                                             $0.00
       8.   Inventory Purchases (Including raw materials)                                                           $0.00
       9.   Purchase of Feed/Fertilizer/Seed/Spray                                                                  $0.00
       10. Rent (Other than debtor's principal residence)                                                           $0.00
       11. Utilities                                                                                                $0.00
       12. Office Expenses and Supplies                                                                             $0.00
       13. Repairs and Maintenance                                                                                  $0.00
       14. Vehicle Expenses                                                                                         $0.00
       15. Travel and Entertainment                                                                                 $0.00
       16. Equipment Rental and Leases                                                                              $0.00
       17. Legal/Accounting/Other Professional Fees                                                                 $0.00
       18. Insurance                                                                                                $0.00
       19. Employee Benefits (e.g., pension, medical, etc.)                                                         $0.00
       20. Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition
           Business Debts
            TOTAL PAYMENTS TO SECURED CREDITORS                                                                     $0.00

       21. Other Expenses
            TOTAL OTHER EXPENSES                                                                                    $0.00
                                                                                                                                 $0.00
       22. TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
       23. AVERAGE NET MONTHLY INCOME(Subtract item 22 from item 1)                                                         $13,500.00




Official Form 106I                                                  Schedule I: Your Income                                      page 3
                    24-22190-shl            Doc 1          Filed 03/08/24 Entered 03/08/24 14:40:03                                   Main Document
                                                                        Pg 45 of 73
 Fill in this information to identify your case:

  Debtor 1                  Baruch                                       Spitzer
                           First Name               Middle Name         Last Name
                                                                                                                 Check if this is:
                                                                                                                 ❑ An amended filing
  Debtor 2                  Malka                                        Spitzer
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Southern District of New York
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑ No. Go to line 2.
     ✔ Yes. Does Debtor 2 live in a separate household?
     ❑
             ✔ No
             ❑
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               18                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               16                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               14                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               11                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               9                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        * See Additional Page for Additional Dependents

 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                   $4,117.81


     If not included in line 4:
                                                                                                                                4a.                        $0.00
     4a. Real estate taxes
                                                                                                                                4b.                        $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                4c.
     4c. Home maintenance, repair, and upkeep expenses                                                                                                     $0.00
                                                                                                                                4d.
     4d. Homeowner's association or condominium dues                                                                                                  $533.00


Official Form 106J                                                                 Schedule J: Your Expenses                                                        page 1
                    24-22190-shl            Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                        Main Document
                                                                       Pg 46 of 73
 Debtor 1             Baruch                                      Spitzer
 Debtor 2             Malka                                       Spitzer
                                                                                                             Case number (if known)
                      First Name            Middle Name           Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                    $650.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                   $800.00

       6b. Water, sewer, garbage collection                                                                        6b.                   $250.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                   $250.00

       6d. Other. Specify:                                                                                         6d.                        $0.00

 7.    Food and housekeeping supplies                                                                              7.                  $2,500.00

 8.    Childcare and children’s education costs                                                                    8.                  $3,000.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                    $350.00

 10. Personal care products and services                                                                           10.                   $250.00

 11.   Medical and dental expenses                                                                                 11.                        $0.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                   $275.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                       $50.00

 14. Charitable contributions and religious donations                                                              14.                   $300.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                       $0.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                       $0.00

       15c. Vehicle insurance                                                                                      15c.                  $525.00

       15d. Other insurance. Specify:                                                                              15d.                       $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                        $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                  $525.00
       17a. Car payments for Vehicle 1            2021 Toyota Sienna 2WD
                                                                                                                   17b.                       $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                       $0.00
       17c. Other. Specify:                                                                                        17d.
                                                                                                                                              $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                        $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                        $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                       $0.00
       20b. Real estate taxes                                                                                      20b.                       $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                       $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                       $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.
                                                                                                                                              $0.00
Official Form 106J                                                          Schedule J: Your Expenses                                                 page 2
                24-22190-shl            Doc 1          Filed 03/08/24 Entered 03/08/24 14:40:03                          Main Document
                                                                    Pg 47 of 73
 Debtor 1            Baruch                                    Spitzer
 Debtor 2            Malka                                     Spitzer
                                                                                                            Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                              21.     +               $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.               $14,375.81

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                    $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.               $14,375.81


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $13,920.80

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –          $14,375.81

      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.                ($455.01)




 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
                24-22190-shl      Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                    Main Document
                                                             Pg 48 of 73
 Debtor 1            Baruch                           Spitzer
 Debtor 2            Malka                            Spitzer
                                                                                                 Case number (if known)
                     First Name   Middle Name         Last Name



   2.   Additional Dependents                                      Dependent's relationship to      Dependent's       Does dependent live
                                                                   Debtor 1 or Debtor 2             age               with you?

                                                                   Child                             4                          ✔ Yes.
                                                                                                                          ❑ No. ❑




Official Form 106J                                              Schedule J: Your Expenses                                                   page 4
                    24-22190-shl                   Doc 1            Filed 03/08/24 Entered 03/08/24 14:40:03                                                     Main Document
                                                                                 Pg 49 of 73
 Fill in this information to identify your case:

  Debtor 1                      Baruch                                               Spitzer
                               First Name                  Middle Name              Last Name

  Debtor 2                      Malka                                                Spitzer
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                  Southern District of New York

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                       $900,000.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                              $31,307.57

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                      $931,307.57



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                               $792,173.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                           $0.00


    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +         $1,964,473.00


                                                                                                                                                  Your total liabilities                 $2,756,646.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $13,920.80


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $14,375.81




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
                24-22190-shl              Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                              Main Document
                                                                     Pg 50 of 73
Debtor 1            Baruch                                       Spitzer
Debtor 2            Malka                                        Spitzer
                                                                                                                   Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ❑ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
   ❑
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
                    24-22190-shl            Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                             Main Document
                                                                      Pg 51 of 73
 Fill in this information to identify your case:

  Debtor 1                  Baruch                                     Spitzer
                            First Name             Middle Name         Last Name

  Debtor 2                  Malka                                      Spitzer
  (Spouse, if filing)       First Name             Middle Name         Last Name

  United States Bankruptcy Court for the:                        Southern District of New York

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                           12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                         Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Baruch Spitzer                                                  ✘ /s/ Malka Spitzer
        Baruch Spitzer, Debtor 1                                             Malka Spitzer, Debtor 2


        Date 03/08/2024                                                      Date 03/08/2024
                 MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                    24-22190-shl            Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                            Main Document
                                                                      Pg 52 of 73
 Fill in this information to identify your case:

  Debtor 1                  Baruch                                     Spitzer
                           First Name              Middle Name         Last Name

  Debtor 2                  Malka                                      Spitzer
  (Spouse, if filing)      First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                        Southern District of New York

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived     Debtor 2:                                            Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                     ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                                 Number    Street
                                                           To                                                                             To



    City                             State ZIP Code                                     City                        State ZIP Code



                                                                                     ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                                 Number    Street
                                                           To                                                                             To



    City                             State ZIP Code                                     City                        State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
                 24-22190-shl            Doc 1       Filed 03/08/24 Entered 03/08/24 14:40:03                              Main Document
                                                                  Pg 53 of 73
Debtor 1            Baruch                                   Spitzer
Debtor 2            Malka                                    Spitzer
                                                                                                             Case number (if known)
                    First Name        Middle Name            Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
                                               ❑ Wages, commissions,                                   ❑ Wages, commissions,
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                               ✔ Operating a business
                                               ❑                                      $27,000.00       ❑ Operating a business

    For last calendar year:                    ❑ Wages, commissions,                                   ❑ Wages, commissions,
    (January 1 to December 31, 2023       )         bonuses, tips                                          bonuses, tips
                                   YYYY        ✔ Operating a business
                                               ❑                                    $162,000.00        ❑ Operating a business

    For the calendar year before that:         ❑ Wages, commissions,                                   ❑ Wages, commissions,
    (January 1 to December 31, 2022       )         bonuses, tips                                          bonuses, tips
                                   YYYY        ✔ Operating a business
                                               ❑                                    $162,000.00        ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:


    For last calendar year:
    (January 1 to December 31, 2023       )
                                   YYYY



    For the calendar year before that:
    (January 1 to December 31, 2022       )
                                   YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
                    24-22190-shl                   Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                             Main Document
                                                                             Pg 54 of 73
Debtor 1             Baruch                                            Spitzer
Debtor 2             Malka                                             Spitzer
                                                                                                                      Case number (if known)
                     First Name                   Middle Name          Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ✔ No. Go to line 7.
              ❑
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                  Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                                  payment

                                                                                                                                         ❑ Mortgage
             Creditor's Name
                                                                                                                                         ❑ Car
                                                                                                                                         ❑ Credit card
                                                                                                                                         ❑ Loan repayment
             Number       Street


                                                                                                                                         ❑ Suppliers or vendors
             City                         State      ZIP Code
                                                                                                                                         ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                Dates of           Total amount paid   Amount you still          Reason for this payment
                                                                payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
                  24-22190-shl              Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                                Main Document
                                                                       Pg 55 of 73
Debtor 1             Baruch                                       Spitzer
Debtor 2             Malka                                        Spitzer
                                                                                                                  Case number (if known)
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                     Nature of the case                      Court or agency                                  Status of the case


    Case title                                                                                                                              ❑ Pending
                                                                                            Court Name                                      ❑ On appeal
                                                                                                                                            ❑ Concluded
                                                                                            Number       Street
    Case number

                                                                                            City                      State      ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 4
                 24-22190-shl               Doc 1          Filed 03/08/24 Entered 03/08/24 14:40:03                             Main Document
                                                                        Pg 56 of 73
Debtor 1            Baruch                                         Spitzer
Debtor 2            Malka                                          Spitzer
                                                                                                                  Case number (if known)
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name



    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
                 24-22190-shl                Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                           Main Document
                                                                       Pg 57 of 73
Debtor 1             Baruch                                      Spitzer
Debtor 2             Malka                                       Spitzer
                                                                                                                Case number (if known)
                     First Name             Middle Name          Last Name

     Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave       Value
     per person                                                                                                     the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                           Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
                 24-22190-shl            Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                           Main Document
                                                                   Pg 58 of 73
Debtor 1            Baruch                                     Spitzer
Debtor 2            Malka                                      Spitzer
                                                                                                            Case number (if known)
                    First Name          Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred            Date payment or        Amount of payment
    Law Offices of Charles Wertman P.C.                                                                    transfer was made
    Person Who Was Paid                       Attorney's Fee
                                                                                                           2/29/2024                        $4,000.00
    100 Merrick Road Suite 304W
    Number     Street




    Rockville Centre, NY 11570-4807
    City                   State   ZIP Code
    charle@cwertmanlaw.com
    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 7
                 24-22190-shl              Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                           Main Document
                                                                     Pg 59 of 73
Debtor 1            Baruch                                     Spitzer
Debtor 2            Malka                                      Spitzer
                                                                                                              Case number (if known)
                    First Name            Middle Name          Last Name

                                                Description and value of property         Describe any property or payments               Date transfer was
                                                transferred                               received or debts paid in exchange              made

    Person Who Received Transfer



    Number      Street




    City                   State     ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Description and value of the property transferred                                         Date transfer was
                                                                                                                                          made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Last 4 digits of account number       Type of account or       Date account was           Last balance
                                                                                       instrument               closed, sold, moved, or    before closing or
                                                                                                                transferred                transfer

    Name of Financial Institution
                                                 XXXX–                               ❑ Checking
                                                                                     ❑ Savings
    Number      Street
                                                                                     ❑ Money market
                                                                                     ❑ Brokerage
                                                                                     ❑ Other
    City                     State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
                 24-22190-shl              Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                          Main Document
                                                                     Pg 60 of 73
Debtor 1            Baruch                                     Spitzer
Debtor 2            Malka                                      Spitzer
                                                                                                              Case number (if known)
                    First Name            Middle Name          Last Name



  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else had access to it?                  Describe the contents                     Do you still have
                                                                                                                                        it?

                                                                                                                                       ❑ No
    Name of Financial Institution                Name
                                                                                                                                       ❑ Yes

    Number      Street                           Number    Street



                                                 City                 State   ZIP Code

    City                     State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                  Who else has or had access to it?           Describe the contents                     Do you still have
                                                                                                                                        it?

                                                                                                                                       ❑ No
    Name of Storage Facility                     Name
                                                                                                                                       ❑ Yes

    Number      Street                           Number    Street



                                                 City                 State   ZIP Code

    City                     State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 9
                   24-22190-shl            Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                   Main Document
                                                                     Pg 61 of 73
Debtor 1            Baruch                                      Spitzer
Debtor 2            Malka                                       Spitzer
                                                                                                                     Case number (if known)
                    First Name            Middle Name           Last Name

                                                  Where is the property?                             Describe the property                    Value



    Owner's Name
                                                 Number     Street



    Number     Street

                                                 City                       State   ZIP Code



    City                     State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Governmental unit                             Environmental law, if you know it              Date of notice



    Name of site                                Governmental unit



    Number     Street                           Number     Street



                                                City                State     ZIP Code


    City                     State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 10
                   24-22190-shl             Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                                  Main Document
                                                                      Pg 62 of 73
Debtor 1            Baruch                                          Spitzer
Debtor 2            Malka                                           Spitzer
                                                                                                                     Case number (if known)
                    First Name            Middle Name               Last Name

                                                   Governmental unit                        Environmental law, if you know it                     Date of notice



    Name of site                                  Governmental unit



    Number        Street                          Number       Street



                                                  City                  State   ZIP Code


    City                     State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                    Status of the case



    Case title                                                                                                                                    ❑ Pending
                                                                                                                                                  ❑ On appeal
                                                  Court Name


                                                                                                                                                  ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ✔ An officer, director, or managing executive of a corporation
           ❑
           ✔ An owner of at least 5% of the voting or equity securities of a corporation
           ❑
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    AZG Sales Inc                                                                                            Do not include Social Security number or ITIN.
    Name
                                                   Amazon Sales
                                                                                                              EIN:    4    7 – 2   6     9    7   5   7   8
    6 Melnick Dr.
    Number        Street
                                                    Name of accountant or bookkeeper                         Dates business existed


                                                                                                              From                  To
    Monsey, NY 10952
    City                     State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 11
                   24-22190-shl            Doc 1         Filed 03/08/24 Entered 03/08/24 14:40:03                               Main Document
                                                                      Pg 63 of 73
Debtor 1            Baruch                                          Spitzer
Debtor 2            Malka                                           Spitzer
                                                                                                                   Case number (if known)
                    First Name            Middle Name               Last Name



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                    Date issued



    Name                                           MM / DD / YYYY



    Number       Street




    City                     State   ZIP Code




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Baruch Spitzer                                                  ✘ /s/ Malka Spitzer
           Signature of Baruch Spitzer, Debtor 1                                Signature of Malka Spitzer, Debtor 2


           Date 03/08/2024                                                      Date 03/08/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                           Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                                  Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 12
                    24-22190-shl            Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                            Main Document
                                                                      Pg 64 of 73
 Fill in this information to identify your case:

  Debtor 1                  Baruch                                     Spitzer
                           First Name              Middle Name         Last Name

  Debtor 2                  Malka                                      Spitzer
  (Spouse, if filing)      First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                        Southern District of New York

  Case number                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                               12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier,
unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the
form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name
and case number (if known).


 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
     Identify the creditor and the property that is collateral              What do you intend to do with the property that secures Did you claim the property as
                                                                            a debt?                                                 exempt on Schedule C?

    Creditor’s                                                              ❑ Surrender the property.                                ❑ No
    name:               JP Morgan Chase Bank N.A.
                                                                            ❑ Retain the property and redeem it.                     ✔ Yes
                                                                                                                                     ❑
    Description of
    property
                        18 Garden Terrace Spring Valley, NY
                        10977                                               ❑ Retain the property and enter into a
    securing debt:                                                                 Reaffirmation Agreement.
                                                                            ✔ Retain the property and [explain]:
                                                                            ❑
                                                                                   make post-petion adequate protection payments

    Creditor’s                                                              ❑ Surrender the property.                                ❑ No
    name:               Huntington
                                                                            ❑ Retain the property and redeem it.                     ✔ Yes
                                                                                                                                     ❑
    Description of
    property
                        18 Garden Terrace Spring Valley, NY
                        10977                                               ❑ Retain the property and enter into a
    securing debt:                                                                 Reaffirmation Agreement.
                                                                            ✔ Retain the property and [explain]:
                                                                            ❑
                                                                                   make post-petion adequate protection payments




Official Form 108                                      Statement of Intention for Individuals Filing Under Chapter 7                                         page 1
                 24-22190-shl          Doc 1          Filed 03/08/24 Entered 03/08/24 14:40:03                         Main Document
                                                                   Pg 65 of 73
 Debtor 1            Baruch                                  Spitzer
 Debtor 2            Malka                                   Spitzer
                                                                                                            Case number (if known)
                     First Name         Middle Name           Last Name




         Additional Page for Part 1

    Creditor’s                                                     ❑ Surrender the property.                                   ✔ No
                                                                                                                               ❑
    name:              SellersFunding Intl
                                                                   ❑ Retain the property and redeem it.                        ❑ Yes
    Description of
    property                                                       ❑ Retain the property and enter into a
    securing debt:                                                        Reaffirmation Agreement.
                                                                   ✔ Retain the property and [explain]:
                                                                   ❑

    Creditor’s                                                     ❑ Surrender the property.                                   ✔ No
                                                                                                                               ❑
    name:              US Bank NA
                                                                   ❑ Retain the property and redeem it.                        ❑ Yes
    Description of
    property
                       2021 Toyota Sienna 2WD
                                                                   ❑ Retain the property and enter into a
    securing debt:                                                        Reaffirmation Agreement.
                                                                   ✔ Retain the property and [explain]:
                                                                   ❑

    Creditor’s                                                     ❑ Surrender the property.                                   ❑ No
    name:              Viola Estate Condo Management
                                                                   ❑ Retain the property and redeem it.                        ✔ Yes
                                                                                                                               ❑
    Description of
    property
                       18 Garden Terrace Spring Valley, NY
                       10977                                       ❑ Retain the property and enter into a
    securing debt:                                                        Reaffirmation Agreement.
                                                                   ✔ Retain the property and [explain]:
                                                                   ❑




Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                         page
                24-22190-shl              Doc 1          Filed 03/08/24 Entered 03/08/24 14:40:03                       Main Document
                                                                      Pg 66 of 73
 Debtor 1            Baruch                                    Spitzer
 Debtor 2            Malka                                     Spitzer
                                                                                                            Case number (if known)
                     First Name            Middle Name          Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the
 information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an
 unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                         Will the lease be assumed?
    Lessor’s name:                US Bank NA                                                                                  ❑ No
                                                                                                                              ✔ Yes
                                                                                                                              ❑
    Description of leased
    property:                     Automobile

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                            ❑ No
                                                                                                                              ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
   property that is subject to an unexpired lease.



  ✘ /s/ Baruch Spitzer                                        ✘ /s/ Malka Spitzer
      Signature of Debtor 1                                       Signature of Debtor 2


      Date 03/08/2024                                             Date 03/08/2024
            MM/ DD/ YYYY                                                 MM/ DD/ YYYY



Official Form 108                                  Statement of Intention for Individuals Filing Under Chapter 7                                         page 2
              24-22190-shl                     Doc 1             Filed 03/08/24 Entered 03/08/24 14:40:03                                                          Main Document
                                                                              Pg 67 of 73

B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                              Southern District of New York

In re        Baruch Spitzer

             Malka Spitzer                                                                                                 Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $4,338.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $4,000.00

        Balance Due ................................................................................................................................................         $338.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:

        Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other adversary
        proceeding.




                                                                                                  Page 1 of 2
          24-22190-shl         Doc 1       Filed 03/08/24 Entered 03/08/24 14:40:03                         Main Document
                                                        Pg 68 of 73

B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        03/08/2024                                             /s/ Charles Wertman
                Date                                         Charles Wertman
                                                             Signature of Attorney
                                                                                              Bar Number: 2593267
                                                                               Law Offices of Charles Wertman P.C.
                                                                                      100 Merrick Road Suite 304W
                                                                                   Rockville Centre, NY 11570-4807
                                                                                             Phone: (516) 359-1334

                                                                     Law Offices of Charles Wertman P.C.
                                                            Name of law firm




                                                                 Page 2 of 2
       24-22190-shl            Doc 1        Filed 03/08/24 Entered 03/08/24 14:40:03                              Main Document
                                                         Pg 69 of 73
                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                     SOUTHERN DISTRICT OF NEW YORK
                                                          WHITE PLAINS DIVISION

IN RE: Baruch Spitzer                                                                 CASE NO
       Malka Spitzer
                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      03/08/2024            Signature                                  /s/ Baruch Spitzer
                                                                          Baruch Spitzer, Debtor


Date      03/08/2024            Signature                                  /s/ Malka Spitzer
                                                                        Malka Spitzer, Joint Debtor
[ case number ]
                  24-22190-shl   Doc 1   Filed 03/08/24 Entered 03/08/24 14:40:03   Main Document
                                                      Pg 70 of 73
24-22190-shl   Doc 1   Filed 03/08/24 Entered 03/08/24 14:40:03   Main Document
                                    Pg 71 of 73

                               8fig
                               1717 W 6th Street
                               Austin, TX 78703




                               Amazon Capital
                               410 Terry Ave. N
                               Seattle, WA 98109




                               AZG Sales Inc
                               6 Melnick Dr.
                               Monsey, NY 10952




                               Barclay
                               P.O. Box 15123
                               Wilmington, DE 19850




                               Berkovitch & Bouiskila LLC
                               Steven Berkovitch, Esq.
                               1545 U.S. 202 Ste 101
                               Pomona, NY 10970



                               Capital One
                               PO Box 4069
                               Carol Stream, IL 60197-4069




                               Chase
                               PO Box 44959
                               Indianapolis, IN 46244-0959




                               Chase
                               PO Box 15123
                               Wilmington, DE 19850
24-22190-shl   Doc 1   Filed 03/08/24 Entered 03/08/24 14:40:03   Main Document
                                    Pg 72 of 73

                               Citi
                               PO Box 70166
                               Philadelphia, PA 19176




                               Citizen Bank
                               1 Citizens Plz Ste 500
                               Providence, RI 02903-1330




                               Everrest
                               102 W. 38th Street 6th Floor
                               New York, NY 10018




                               Huntington
                               P.O. Box 1558
                               Columbus, OH 43216




                               IRS
                               Po Box 7346
                               Philadelphia, PA 19101-7346




                               JP Morgan Chase Bank N.A.
                               PO Box 78420
                               Phoenix, AZ 85062-8420




                               Marcus by GS
                               PO Box 45400
                               UT




                               NYS DEPT OF TAXATION AND
                               FINANCE
                               BANKRUPTCY SECTION
                               Po Box 5300
                               Albany, NY 12205-0300
24-22190-shl   Doc 1   Filed 03/08/24 Entered 03/08/24 14:40:03   Main Document
                                    Pg 73 of 73

                               OnRamp
                               1705 S Capital of Texas Hwy #500
                               Austin, TX 78746




                               Orange & Rockland
                               PO Box 1005
                               Spring Valley, NY 10977




                               SBA
                               US Small Bus. Admin.
                               409 3rd Street
                               Washington, DC 20416



                               SellersFunding Intl
                               Attn Double Deer LLC
                               129 Weston Road Ste 306
                               Fort Lauderdale, FL 33326



                               US Bank NA
                               PO Box 790117
                               Saint Louis, MO 63179-0117




                               Viola Estate Condo
                               Management
                               PO Box 983
                               Monsey, NY 10952



                               Wells Fargo
                               PO Box 51193
                               Los Angeles, CA 90051
